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                           EXHIBIT 1
      Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.12 Page 2 of 38
                                                                                                                        t//1/t<> ez ,.~
                                                                                                                                                   SUM-100
                                          SUMMONS                                                                         FORCCIURTUSIHlNLY
                                                                                                                      (SOLO PARA USO DB LA COR~
                                   (CITACION JUDICIAL)
NOTICE TO DEFENDANT:                                                                                             ELECTROHICALLY FILED
(AVISO AL DEMANDADO):                                                                                              Superior Court of California.
                                                                                                                      County of San Diego
 KELLOGG SALES COMPANY; and DOES I through 10, inclusive
                                                                                                                   12/20/2019 at D1:20 :31 PM
YOU ARE BEING SUED BY PLAINTIFF:                                                                                    Clerk of the Superior Court
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                 By Oen Oieu, Deputy Clerk

 Harlan Zaback, individually and on behalf of all others similarly situated

  NDTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
  below.
    You have 30 CALENDAR DAYS after this summons and legal papen. are served on you to file e written response at this court and have a copy
  sarved on the plaintiff. A letter or phone call will not proted you. Your written rospon,o mu:;t bo In proper logal form If you want tho court to hear your
 case. There may be a court form thal you can use for your response. You can Rnd these court forms and more Information at the Califomla Courts
 Online Self-Help Center (www.coultinfo.ca.90vt,eJ111e&,), your county law library, or the courthouse nearest you. If you cannot pay the 61ing feo, ask
 the court clerk for a feo waiver form. If you do nol 61• your roaponse on time, you may loso tho callO by dofaull, and your wog11:1, monoy, and property
 may be taken without further warning from Iha court.
     Thero ero other legal raqulraments. You may want to CJII an attornoy right away. If you do not know an anornoy, you may wanl to call an attorney
 rafaml service. If you cannot afford an attomoy, you may be ellglble for free legal servk:H from a nonprofit legal services program. You can locate
 these nonprofit groups al the California Legal Services Web site (www.fewhafpca/ifomhl.o,m, the Califomla Courts Online Self-Help Cantor
 (www.courttnfD.ee.r,ovlaelfhefp), or by contacting your loc:al court or county bar association. NOTE: TIie court has a stalutory lien for waived foes and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 IAVISOI Lohan domendado. Si no raspondo dentro de 30 dlas. la carte puodo docldir on w contra sin escucher su vors/6n. Lea le informaci'dn 11
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    Tiana 30 DIAS DE CALENDAR/0 despuda de que le enlreguon esta cltad6n y papetes /age/es para presenter uns respuests por escrlto en esta
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 bibliotecs de /eyes de su condedo o en la corte que le quede mis cerea. SI no puede pager la cuote de presentacl6n, plda al secretarlo de la corto
 qua le d4 un formulario de exencl6n de pego de cuot11S. Si no presenta au respuesta a tiempo, puede pen/er el caso par incumplimiento y la corfe le
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   Hay otroa requlsitDs lag1les. Es rtnomendablo quo /lame II un abogedo inmedist1mente. SI no conoce s un 1bogsdo, puede /Jamar a un sarvtclo de
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 jWWN.lav.tlelpcalifomia .orgJ, en el Centro de Ayuda de las Cortas de California, jwww.sucorte.ca.govJ o poni4ndose en contacto con la c:orte o el
 co/eg/o de abogedos locales. AVISO: Por /ey, la corta tiene derecho s reclamer las cuatas y los coslos exentos por fmpaner un gravamen sobm
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The name and address of the court Is:                                                                     CAS! NUMBER:
                                                                                                          (N,mt:IOo.JCHO):
(El nombrv y direcci6n de le carte es):       San Diego Hall of Justice                                                      37-2019-00067808- CU- BT· CTL
330 West Broadway                                                                                                                                                   I

San Diego, CA 9210 l
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attomey, is:
(El nombre, la direcci6n y el mimero de tel6fono def abogedo del demandente, o del demendante que no tiene abogado, es):
Eric A. LaGuardia, LaGuardia Law, 402 West Broadway, Suite 800, San Diego, CA, 92101
DATE:          1212312019                                                     Clerk, by                             ~
                                                                                                                    G.Dlou
                                                                                                                                                   'Deputy
(Feche)                                                              (Secreterio)                                                                   (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Pare prueba de entrega de esta citsti6n use el fonnulario Proof of Servioe of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: Vou are served
                                     1.   D     as an individual defendant.
                                     2.   D     as the person sued under the fictitious name of (specify):


                                     3.   D     on behalf of (specif-/):
                                          under:   D      CCP416.10(corporation)                          D        CCP418.60(minor)
                                                   D      CCP 416.20 (defuncteorporation)                 D        CCP 416.70 (conservatee)
                                                   D      CCP 416.40 (association or partnership)         D        CCP 418.90 (authorized person)
                                                   D    other (specify):
                                     4.   D     by personal delivery on (date):
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 1   DEVON K. ROEPCKE (SBN 265708)
     LAW OFFICES OF DEVON K. ROEPCKE                                 ELECTROHICALL V FILED
                                                                      Superior Court of California.
 2   170 Laurel Street                                                   County of San Diego
     San Diego, CA 92101                                              12/20/2019 at D1:20 :31 PM
 3
     Telephone: (619) 940-5357                                         Clerk of the Superior Court
 4   Fax: (619)354-4157                                                        •
                                                                       By Gen ieu, Deputy Clerk
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 9   eal@laguardialaw.com

10   Attorneys for Plaintiff HARLAN ZABACK
11
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
12
                                      COUNTY OF SAN DIEGO
13
14   Harlan Zaback, individually and on behalf of   Case N o.: 37-2019-00067808- CU-BT- CTL
     all others similarly situated,
15                                                  CLASS ACTION COMPLAINT FOR:
                    Plaintiff,
16          vs.                                     (1)   Violations of the California Consumers
                                                          Legal Remedies Act, Civil Code § 1750, et
17                                                        seq.;
     KELLOGG SALES COMPANY; and DOES
18   1 through I 0, inclusive,                      (2)   Unfair Business Practices, California
                                                          Business & Professions Code §§ 17200, et
19                  Defendants.                           seq.;
                                                    (3)   Violation of the California False
20
                                                          Advertising Law, California Business &
                                                          Professions Code §§ 17500, et seq.;
21
                                                    (4)   Quasi Contract (Unjust Enrichment)
22                                                        Seeking Restitution

23
                                                    DEMAND FOR JURY TRIAL
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                  CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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              Plaintiff Harlan Zaback ("Plaintiff') brings this action on behalf of himself and all others

 2    similarly•situated against Kellogg Sales Company ("Kellogg") and alleges, on information and

 3    belief, except for information based on personal knowledge, as follows:

 4                                             INTRODUCTION

 5            1.     Through false and deceptive packaging and advertising, Defendant intentionally

 6    misleads consumers into believing that its product "Bear Naked Granola Fit V'nilla Almond" is

 7    made with vanilla flavoring derived exclusively from vanilla beans when the ingredient list reveals

 8    otherwise.

 9            2.     At all relevant times, Defendant has packaged, advertised, marketed, distributed,

10    and sold "Bear Naked Granola Fit V'nilla Almond" to consumers via retail stores and online retail

 11   platforms throughout the state of California with the misrepresentation that "Bear Naked Granola

12    Fit V'nilla Almond" is made with vanilla flavoring derived exclusively from vanilla beans when

13    the ingredient list reveals otherwise.

14            3.     Plaintiff and other consumers purchased "Bear Naked Granola Fit V'nilla Almond"

15    because they reasonably believed, based on Defendant's packaging and advertising that "Bear

16    Naked Granola Fit V'nilla Almond" is made with vanilla flavoring derived exclusively from

17    vanilla beans. Had Plaintiff and other consumers known that "Bear Naked Granola Fit V'nilla

18    Almond" is not flavored with flavoring derived exclusively from vanilla beans, they would not

19    have purchased the "Bear Naked Granola Fit V'nilla Almond" or would have paid significantly

20    less for it. As a result, Plaintiff and other consumers have been deceived and have suffered

21    economic injury.

22           4.      Plaintiff seeks relief in this action individually, and on behalf of all other similarly

23    situated individuals who purchased "Bear Naked Granola Fit V'nilla Almond" during the relevant

24    statute of limitations period, for violations of California's Consumer Legal Remedies Act

25    ("CLRA"), California Civil Code section 1750, et seq., California's Unfair Competition Law

26    ("UCL"), California Business & Professions Code section I 7200, et seq., California's False

27    Advertising Law ("F AL"), California Business & Professions Code section 17500, et seq., and for

28    common law fraud, intentional misrepresentation, negligent misrepresentation, and unjust

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     enrichment.

 2           5.      Plaintiff seeks to represent a Class (defined infra in paragraph 49) (hereinafter,

 3   referred to as the "Class").

 4          6.       As a result of the unlawful scheme alleged herein, Defendant has been able to

 5   overcharge Plaintiff and other consumers for its product, induce purchases that would otherwise

 6   not have occurred, and/or obtain wrongful profits. Defendant's misconduct has caused Plaintiff

 7   and other consumers to suffer monetary damages. Plaintiff, on behalf himself and other similarly

 8   situali::tl consumers, seek damages, restitution, declaratory and injunctive relief, and all other

 9   remedies provided by applicable law or this Court deems appropriate.

10                                     JURISDICTION AND VENUE .

1l           7.      The amount in controversy is sufficient to implicate the general jurisdiction of the

12   Superior Court of San Diego.

13          8.       This Court has subject matter jurisdiction pursuant to California Business and

14   Professions Code, Sections 17203, 17204 and Civil Code, Section 1750.

15          9.       This Court has personal jurisdiction over Defendant because it has continuous and

I6   systematic contacts with the state of California, County of San Diego. Plaintiffs claims arise out

17   of Defendant's forum related activities.

18           10.     Venue is proper in this Court pursuant to California Code of Civil Procedure,

19   Sections 395 and 395.5, Business and Professions Code, Sections 17203, 17204, and Civil Code

20   Section 1750 because Defendant conducts substantial business in this County. Venue is also

21   proper because a substantial portion of the misconduct alleged herein occurred in the County of

22   San Diego.

23                                              THE PARTIES

24           11.     Plaintiff Harlan Zaback is an individual that resides in the County of San Diego,

25   California. Mr. Zaback purchased "Bear Naked Granola Fit V'nilla Almond" and in doing so saw

26   and relied upon the representations on the packaging. Specifically, Mr. Zaback saw and relied on

27   the following illustrations and representations on the packaging: use of the word "V'nilla" in the

28   product's name on the front and back of the package; the words "naturally flavored" on front of

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      package immediately below the words "V'nilla Almond"; a vignette of vanilla beans with only the

 2    word "Vanilla" below it on the back of package; and the words "natural flavors" in package's

 3    ingredient list. Based on these representations, Mr. Zaback believed he was purchasing granola

 4    with vanilla flavoring derived exclusively from vanilla beans.

 5            12.     Mr. Zaback would not have purchased "Bear Naked Granola Fit V'nilla Almond"

 6    or would have paid significantly less for it had he known that it was not flavored with vanilla

 7    flavoring derived exclusively from vanilla beans. Therefore, Mr. Zaback suffered injury in fact

 8    and lost mo111:.:y as a result of Uetendant's misleading, false, unfair, and fraudulent practices, as

 9    described herein. Despite being misled by Defendant, Mr. Zaback wishes to and is likely to

10    continue purchasing "Bear Naked Granola Fit V'nilla Almond" in the future if it is flavored with

11    vanilla flavoring derived exclusively from vanilla beans. To this day, Mr. Zaback regularly shops

 12   at stores where "Bear Naked Granola Fit V'nilla Almond" is sold. On some of these occasions,

 13   Mr. Zaback would like to buy the "Bear Naked Granola Fit V'nilla Almond," but has refrained

 14   from doing so because he cannot rely with any confidence on Defendant's representations

 15   regarding the vanilla flavor of the granola, especially since he was deceived in the past by

16    Defendant. While Mr. Zaback currently believes that "Bear Naked Granola Fit V'nilla Almond,"

17    is not flavored with vanilla flavoring derived exclusively from vanilla beans, he lacks personal

18    knowledge as to Defendant's food production practices, which may change over time, leaving

19    room for doubt in his mind as to whether "Bear Naked Granola Fit V'nilla Almond" is flavored

20    with vanilla flavoring derived exclusively from vanilla beans. This uncertainty, coupled with his

21    desire to purchase "Bear Naked Granola Fit V'nilla Almond," is an ongoing injury that can and

22    would be rectified by an injunction enjoining Defendant from making the false and/or misleading

23    representatio~s alleged herein.

24            13.     Defendant Kellogg Sales Company is a Delaware corporation with its principal

25    place of business at One Kellogg Square, Battle Creek, Michigan 49016. Defendant is responsible

26    for the production, marketing, and sales of "Bear Naked Granola Fit V'nilla Almond." Kellogg

27    was founded in 1906 and is headquartered in Battle Creek, Michigan. Kellogg is a multi-billion-

28    dollar food company that manufactures, markets, and sells a wide variety of cereals and snack

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 1    bars, among other foods. Among these food products, Kellogg distributes, markets, labels, and

 2    sells a variety of granola products in various flavors under its "Bare Naked" brand, including

 3    "Bear Naked Granola Fit V'nilla Almond" purchased by Plaintiff.

 4            14.     Plaintiff is unaware of the names of, and capacities of the defendants sued herein as

 5    DOES 1 through 10, inclusive. Plaintiff is informed and believes and upon that basis alleges that

 6    each of the defendants sued herein as DOES 1 through 10, inclusive, is responsible in some

 7    manner for the wrongs alleged herein and is legally liable to the Plaintiff. Plaintiff will amend this

 8    complaint to allege tlit:ir true names and capacities when such information is ascertained.

 9                                       FACTUAL ALLEGATIONS

 10       A. Background
 11           15.     Vanilla is one of the most popular and common ingredients in the world - whether

 12   as a primary flavor, a component of another flavor, or for its aroma. 1

 13           16.     Vanilla is also the second most expensive flavoring ingredient after saffron. 2

 14           17.     Because of its versatility, high demand, high value, and the relatively limited

 15   supply of vani Ila bean crops, vanilla is constantly subject to adulteration, extension, and imitation

 16   efforts. For the same reasons, there is strong incentive for bad actors to pass off less expensive and

17    lower quality components as natural vanillin 3 derived from the vanilla bean.

18            18.     Tactics used to make consumers believe they are getting a product with only real

19    vanilla include: adding synthetically produced vinillin derived from wood pulp, tree bark, coal tar,

20

21

22
             1 In  1908, E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of
23
      Agriculture's Bureau of Chemistry, noted "There is at least three times as much vanilla consumed
24    [in the United States] as all other flavors together. See "The Manufacture of Flavoring Extracts,"
      Yearbook of the United States Department of Agriculture 1908 (Washington, DC: Government
25    Printing Office, 1909) pp.333-42, 333; see also "Vanilla: The Cultural History of the World's
      Most Popular Flavor and Fragrance" Rain, Patricia (2004).
26             2 "Chemistry of Spices" Parthasarathy, V. A.; Chempakam, Bhageerathy; Zachariah, T.

27    John (2008), p. 2.
               3 "Vanillin" is the primary component of the extract of the vanilla bean but does not have

28    quite the same taste as the much more complex mixture of compounds found in natural vanilla
      extract.
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     or anal secretions from beaver castor sacs4 ; "extending" vanilla with various flavoring substances

 2   with no connection or resemblance to real vanilla beans; and utilizing Tonka bean extract which is

 3   a source of coumarin, a substance banned for use in food in the US since 1954 based on possible

 4   safety concems5, among others.

 5           19.     Section 341 of the Federal Food, Drug, and Cosmetic Act (FFDCA) directs the

 6   Food and Drug Administration (FDA) to establish standards for food where necessary to promote

 7   honesty and fair dealing in the interest of consumers. 6

 8          20.      The federal food standards, as FDA explains, are intended to "protect consumers

 9   from contaminated products and economic fraud" and have served as "a trusted barrier against

10   substandard and fraudulently packaged food since their enactment in the 1938

11   FFDCA." Additionally, the federal food standards help create a "level playing field" environment

12   where competitors cannot cut prices by selling inferior products. 7

13          21.      Federal food standards allow consumers to trust that a standardized food is actually

14   what it purports to be by establishing explicit specifications for the standardized food. Another

15   important part of a food standard is its assigned common or usual name under which only

16   conforming products may be sold. Once a food has a promulgated standard, only products that

17   comply with the compositional and applicable production requirements of the standard may be

18   marketed under the food standard name. Put differently, a food labeled with the name of the food

19   that is subject to the standard must be composed of the ingredient~ specified in the applicable

20   standard.

21          22.      FDA established a series of standards of identity specifically for vanilla products

22   promulgated at 21 CFR 169.175 - 169.182 intended to alleviate potential consumer fraud by

23   establishing specific requirements for vanilla extract and other standardized vanilla products. The

24

25          4 Mollie Bloudoff.Jndelicato "Beaver Butts Emit Goo Used for Vanilla Flavoring",
     October 1, 2013, https://www.nationalgeographic.com/news/2013/10/beaver-butt-goo-vanilla-
26
     flavorint#close
27            FDA, 2008. Mexican "vanilla" with coumarin: no bargain. FDA Consumer Health
     Information at www.fda.gov/consumer.
28          6 21 U.S.C.A. § 341.
            7 FDA, 2007. FDA Consumer Update, "FDA's Standards for High Quality Foods."

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     need for consumers to be protected from fraudulent vanilla flavoring representations is reflected in

 2   the fact that vanilla flavorings are the only flavoring materials subject to a federal standard of

 3   identity.

 4              23.      FDA defines vanilla beans at 21 CFR 169.3(a): "The term vanilla beans means the

 5   properly cured and dried fruit pods of Vanilla planifolia Andrews and of Vanilla tahitensis

 6   Moore."

 7              24.      The standards of identity set out by 21 CFR 169 for identifying vanilla extract and

 8   the other standardized vanilla products require standardized vanilla products be derived from

 9   "vanilla beans" as defined above under 21 CFR I69.3(a).

10              25.      In addition to Section 341, Section 343 of the FFDCA dictates that a food shall be

11   deemed to be misbranded "[i]f it purports to be or is represented as a food for which a definition

12   and standard of identity has been prescribed by regulations as provided by section 341 of this title,

13   unless ( 1) it conforms to such definition and standard, and (2) its label bears the name of the food

14   specified in the definition and standard, and, insofar as may be required by such regulations, the

15   common names of optional ingredients (other than spices, flavoring, and coloring) present in such

16   food." 8

17              26.      Taken together, Sections 341 and 343 dictate where a flavor is represented as

18   "vani Ila" and/or tastes like vanilla it is subject to the standards of identity for vanilJa flavorings set

19   out by 21 CFR 169 .175 - 169.182 and must comply with the labeling requirements for the

20   standards. FDA 's implementing regulations follow the legal principle that standards of identity

21   supersede the general flavor labeling regulations because where there "is a flavor for which a

22   standard of identity has been promulgated," then "it shall be labeled as provided in the standard."9

23              27.      If a food contains any artificial flavor which resembles or reinforces the characte-

24   rizing flavor, the name of the food on the label should be accompanied by the common or usual

25   name of the characterizing flavor and the word(s) 'artificial' or 'artificially flavored' e.g. 'artificial

26   vanilla,' 'artificially flavored vanilla' or 'vanilla artificially flavored.

27

28              8   21 U.S.C.A. § 343.
                9   21 C.F.R. § l01.22(g)
                                                  -7-
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 1            28.    Even if, for example, Defendant's "Bear Naked Granola Fit V'nilla Almond"

 2    (where vanilla is a characterizing flavor) is flavored with a combination that is part vanilla flavor

 3    derived exclusively from vanilla beans (like vanilla-extract) along with vanillin derived from some

 4    other "natural" but non-vanilla bean vanillin source (like tree bark), the proper labeling would be

 5    the general flavor and food labeling regulations at 21 CFR Section 101.22. In this example,

 6    though, the vanillin derived from tree bark is characterizing for vanilla and even though it qualifies

 7    as "natural flavor" under 21 CFR Section 10 l .22(a)(3) the labeling for the "Bear Naked Granola

 8    Fit V'nilla Almond" on the principal display panel must indicate that its granola contains an

 9    "artificial" flavor - the vanillin not from vanilla beans; and in such an example the ingredient
 10   statement could contain a statement of"natural and artificial flavors." 10 But even if this is the case

 11   with the vanilla flavor in "Bear Naked Granola Fit V'nilla Almond," Defendant's packaging for
 12   "Bear Naked Granola Fit V'nilla Almond" does neither.

 13        B. Defendant's Packaging and Marketing Are Misleading

 14           29.    Defendant's "Bear Naked Granola Fit V'nilla Almond," along with the other Bare

 15   Naked granola products, is available to consumers nationwide from third-party retailers, including

 16   brick and mortar and online stores.
 17           30.    Defendant's packaging and marketing of "Bear Naked Granola Fit V'nilla

 18   Almond" is misleading to reasonable consumers, including Plaintiff and other Class members.
 19           31.    Plaintiff purchased "Bear Naked Granola Fit V'nilla Almond" with the belief,

 20   based on Defendant's misleading packaging, that it is flavored with vanilla flavoring derived

 21   exclusively from vanilla beans when close inspection of the ingredient list reveals otherwise.
 22           32.    A reasonable consumer is misled to believe "Bear Naked Granola Fit V'nilla

 23   Almond" is flavored with vanilla flavoring derived exclusively from vanilla beans based on the
 24
      10The FDA has weighed in on this point, specifically, stating that a food containing vanillin even
 25   produced consistent with the FDA definition of natural flavor "can bear the term 'vanillin,'
      'natural flavor,' or 'contains natural flavor' but the term natural flavor must not be used in such a
 26
      way to imply that it is 'natural vanilla flavor' because it is not derived from vanilla beans." See:
 27   "Labeling Vanilla Flavorings and Vanilla-Flavored Foods in the U.S.," John B. Hallagan and
      Joanna Drake, The Flavor and Extract Manufacturers Association of the United States, April 25,
 28   2018 article quoting May 6, 2009 Letter from FDA to a flavor industry member regarding "natural
      vanillin." (Emphasis added).
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      following illustrations and representations on Defendant's relevant packaging and advertising:

  2          (1) use of the word "V'nilla" in the product's name;

  3          (2) the words "naturally flavored" on front of package immediately below the words

  4               "V'nilla Almond";
                            ;    .,
                                .,
  5             i',t_f:r.:~,~•~••     •r   ;




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  7                                              t,



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 14          (3) a vignette of vanilla beans with only the word "Vanilla" below it on the back of

 15               package;

 16          (4) the words "natural flavors" in package's ingredient list;

 17         I
 18

 19
                                                                     vanilla
 20
 21

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  1           (5) the words "natural vanilla flavor" in the narrative next to the product on the Bear

 2               Naked website;

 3

 4
 5
        ,,
        11B
                                         V'NILLA ALMOND
                                         Bear Naked Granola Fit Vnilla Almond. Not all bears hibernate
                                         for the winter. Some like to keep active all year round. These are the
                                         fit·minded bears behind V'nitla Almond Fit Granola, with Non·GMO
                                         project verified whole grain oats. almonds. and natural vanilla flavor.
 6                                       Perfect for the bear on the go.

 7                                       Product Information:
                                         Allergen Notes: CONTAINS ALMOND INGREDIENTS. MAY CONTAIN OTHER TREE NUTS.
 8
                                         Ingredients: Whole grain oats. brown rice syrup. almonds, cane sugar, oat bran. brown rice.
 9                                       ground flax seeds. natural flavors.


 10
 11

 12           (6) and the narrative under "About Us" on the Bear Naked website, suggesting that their

 13              products are made from the "highest quality foods" without "unfamiliar ingredients,"

 14              and that they keep their granola "good and wholesome."

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 25
                company picnic is BYOB (bring your own bees). But the truth is, the bears keep
 26             us honest. Their instincts always point them to the highest quality foods found
                in the wild. Newfangled food science and unfamiliar ingredients scare and
 27             confuse our bears, turning them from jovial, happy-go-lucky granola makers
                into the scary bears Hollywood actors wrestle with to win awards. So when we
 28             say keeping our granola good and wholesome is in our best interest. we're not
                just talking about brand image.

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              33.     Ingredients: Whole grain oats, brown rice syrup, almonds, dried cane syrup, oat

 2    bran, brown rice, natural flavors, ground flax seeds. (Emphasis added).

 3            34.     "Bear Naked Granola Fit V'nilla Almond" does not identify vanilla extract or

 4    vanilla flavoring as the flavoring source for its vanilla flavor, despite vanilla constituting a

 5    "characterizing flavor" based on its packaging, along with "almond."

 6            35.     As explained above, when faced with general and specific regulations, the general

 7    rule is to use the specific ones, in this case the specific regulations for vanilla as opposed to

 8    general flavoring.

 9            36.     Defendant's listing of "natural flavors" as opposed to vanilla flavor or vanilla

 10   extract is tacit acknowledgement that the "natural flavors" is not a synonym for the required

 11   vanilla ingredients. Compare 21 C.F.R. § 101.22 (natural flavor) with 21 C.F.R. § 169.175

 12   (Vanilla extract.) and§ 169.177 (Vanilla flavoring.).

 13           37.     Additionally, it would make no sense to use a more expensive and higher quality

 14   ingredient (vanilla extract or vanilla flavor) but designate it with a general term that could be

 15   perceived by some consumers to cost less money and appearing on most foods in existence

 16   ("natural flavors").

 17           38.     In short, the vanilla flavor in "Bear Naked Granola Fit V'nilla Almond" derived

 18   from any source other than the vanilla bean must be labeled as an artificial flavor, but it is not.

 19           39.     Nowhere on the packaging does it disclose that the "Bear Naked Granola Fit

 20   V'nilla Almond" is flavored with anything other than vanilla flavoring derived exclusively from

 21   vanilla beans. Rather, as described above, the packaging uses words and even a picture of vanilla

 22   beans to misrepresent to Plaintiff and reasonable consumers that it is flavored with vanilla

 23   flavoring derived exclusively from vanilla beans.

 24          40.      Through Defendant's packaging and advertising as described herein, Defendant has

 25   acknowledged its intent to create the impression that its "Bear Naked Granola Fit V'nilla Almond"

 26   is flavored with vanilla flavoring derived exclusively from vanilla beans.

 27          41.      "Bear Naked Granola Fit V'nilla Almond" is misleading because it is marketed as

 28   if it is flavored with vanilla flavoring derived exclusively from vanilla beans (when it is not) next

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      to other granola products marketed similarly but that actually are flavored with vanilla flavoring

 2    derived exclusively from vanilla beans.

 3            42.     Where two similarly labeled products are situated in the same category or section

 4    of a store and their representations as to quality are identical, yet one is lacking the quantity of the

 5    characterizing ingredient (vanilla) or qualities, the reasonable consumer will be deceived.

 6            43.     Accordingly, a reasonable consumer will and does pay more money for the

 7    misleading labeled product under the false impression that it contains the equivalent amount

 8    and/or type of the characterizing ingredients and possesses such qualities.

 9           44.      The proportion of this characterizing component, vanilla, has a material bearing on

 10   price or consumer acceptance of the product because it is more expensive and desired by

 11   consumers.

 12          45.      Had Plaintiff and Class members known the truth about "Bear Naked Granola Fit

 13   V'nilla Almond," they would not have purchased it or would have paid less for it.

 14          46.      As a result of its misleading business practice, and the harm caused to Plaintiff and

 15   other consumers, Defendant should be enjoined· from deceptively representing that "Bear Naked

 16   Granola Fit V'nilla Almond" is made with vanilla flavoring derived exclusively from vanilla

 17   beans. Furthermore, Defendant should be required to pay for all damages caused to misled

 18   consumers, including Plaintiff.

 19          47.      Despite being misled by Defendant, Plaintiff wishes to and is likely to continue

 20   purchasing "Bear Naked Granola Fit V'nilla Almond" in the future if it is made with vanilla

 21   flavoring derived exclusively from vanilla beans. To this day, Plaintiff regularly shops at stores

 22   where "Bear Naked Granola Fit V'nilla Almond" is sold. On some of these occasions, Plaintiff

 23   would like to buy the "Bear Naked Granola Fit V'nilla Almond," but refrains from doing so

 24   because he cannot rely with any confidence on Defendant's representations regarding the

 25   ingredients, especially since he was deceived by Defendant in the past. While Mr. Zaback

 26   currently believes that "Bear Naked Granola Fit V'nilla Almond," is not flavored with vanilla

 27   flavoring derived exclusively from vanilla beans, he lacks personal knowledge as to Defendant's

 28   food production practices, which may change over time, leaving room for doubt in his mind as to

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 1    whether "Bear Naked Granola Fit V'nilla Almond" is flavored with vanilla flavoring derived

 2    exclusively from vanilla beans. This uncertainty, coupled with his desire to purchase "Bear Naked

 3    Granola Fit V'nilla Almond," is an ongoing injury that can and would be rectified by an injunction

 4    enjoining Defendant from making the false and/or misleading representations alleged herein.

 5                                     CLASS ACTION ALLEGATIONS

 6             48.     Plaintiff re-alleges and incorporates by reference all preceding paragraphs.

 7             49.     Plaintiff brings this action on behalf of himself and the following ascertainable

 8    class of similarly situated persons pursuant to California Civil Code of Procedure section 382:

 9             All persons, who are California residents who purchased "Bear Naked Granola Fit V'nilla
               Almond," or who purchased "Bear Naked Granola Fit V'nilla Almond" within the State of
 10            California, for personal, family, or household purposes during the relevant statute of
 11            limitations periods.

 12            50.     Excluded from the Class is the following individuals and/or entities: Defendant and
 13   its parents, subsidiaries, affiliates, officers and directors, current or former employees, and any
 14   entity in which Defendant has a controlling interest; all individuals who make a timely election to

 15   be excluded from this proceeding using the correct protocol for opting out; and all judges assigned

 16   to hear any aspect of this litigation, as well as their staff.

 17            51.     Plaintiff reserves the right to amend the above class and to add additional classes

 18   and subclasses as appropriate based on investigation, discovery, and the specific theories of

 19   liability.

 20            52.     Plaintiff is a member of the Class.

 21            53.     Members of the Class are so numerous that their individual joinder herein is

 22   impracticable. On information and belief, members of the Class number in at least the thousands.

 23   The precise number of Class members and their identities is unknown to Plaintiff at this time but

 24   will be determined through discovery. Class members may be notified of the pendency of this

 25   action by mail and/or publication through the distribution records of Defendant and third party
 26   retailers and vendors.

 27            54.     Defendant's conduct has imposed a common injury on the members of the Class.

 28   Defendant has acted, and refused to act, on ground generally applicable to the Class, which makes

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      final injunctive relief with respect to each claim as a whole appropriate.
 2            55.      The representative Plaintiff will faithfully represent the class and the claims of

 3    Plaintiff is typical of the claims of the Class, because Plaintiff and all members of the Class

 4    sustained damages that arise out of the same pattern and practice of wrongful conduct by the

 5    Defendant, in violation of law as alleged herein.
 6            56.      Plaintiffs will fairly and adequately protect the interests of the Class. Plaintiff has
 7    retained counsel highly experienced in handling class action litigation, including that which
 8    involves consumer protection from unfair business practices, and Plaintiff intends to prosecute this
 9    action vigorously. Plaintiff has no adverse or antagonistic interests to those of the Class.
 10           57.      The class mechanism is superior to other available means for the fair and efficient
 11   adjudication of the claims of Plaintiff and Class members. Each individual Class member may
 12   lack the resources to undergo the burden and expense of individual prosecution of the complex
 13   and extensive litigation necessary to establish Defendant's liability. Individualized litigation
 14   increases the delay and expense to all parties and multiplies the burden on the judicial system

 15   presented by the complex legal and factual issues of this case. Individualized litigation also
 16   presents a potential for inconsistent or contradictory judgments. In contrast, the class action device
 17   presents far fewer management difficulties and provides the benefits of single adjudication,

 18   economy of scale, and comprehensive supervision by a single court on the issue of Defendant's
 19   liability. Class treatment of the liability issues will ensure that all claims and claimants are before
 20   this Court for consistent adjudication of the liability issues.
 21           58.      There is a well-defined community of interest in the questions and answers of law
 22   and fact involved affecting the members of the Class. The questions and answers of law and fact
 23   common to the Class predominate over questions and answers affecting only individual class
 24   members, and include, but are not limited to, the following:
 25             a.     Whether Defendant misrepresented material facts and/or failed to disclose material
 26                    facts in connection with the packaging, marketing, distribution, and sale of"Bear
 27                    Naked Granola Fit V'nilla Almond";
 28             b.     Whether Defendant's use of false or deceptive packaging and advertising

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                      constituted false or deceptive advertising;

 2             c.     Whether Defendant engaged in unfair, unlawful and/or fraudulent business

 3                    practices;
 4             d.     Whether Defendant's unlawful conduct, as alleged herein, was intentional and

 5                    knowing;

 6             e.     Whether Plaintiff and the Class are entitled to damages and/or restitution, and in

 7                    what amount;

 8             f.     Whether Defendant is likely to continue using false, misleading or unlawful

 9                    conduct such that an injunction is necessary; and
 10            g.     Whether Plaintiff and the Class are entitled to an award of reasonable attorneys'

 11                   fees, interest, and costs of suit.
 12           59.     Plaintiff knows of no difficulty likely to be encountered in the management of this

 13   litigation that would preclude its maintenance as a class action. Because the action is brought as a

 14   California class action, the court need only apply a single set of California laws as they relate to

 15   Defendant's contract, practices, and conduct.
 16
                                              CAUSES OF ACTION
 17
                                        FIRST CAUSE OF ACTION
 18                  Violation of California's Consumers Legal Remedies Act ("CLRA"),
 19                                 California Civil Code §§ 1750, et seq.

 20          60.      Plaintiff re-alleges and incorporates by reference all preceding paragraphs.

 21          61.      Plaintiff brings this claim individually and on behalf of the members of the

 22   proposed Class against Defendant.

 23          62.      "Bear Naked Granola Fit V'nilla Almond" is a "good" within the meaning of

 24   California Civil Code section 1761 (a), and the purchases of such "Bear Naked Granola Fit V'nilla

 25   Almond" by Plaintiff and members of the Class constitute "transactions" within the meaning of

 26   California Civil Code section 1761 (e).

 27          63.      California Civil Code section l 770(a)(5) prohibits "[r]epresenting that goods or

 28   services have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities

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  l   which they do not have .... " By marketing "Bear Naked Granola Fit V'nilla Almond" with its

 2    current packaging and advertisements, Defendant has represented and continues to represent that

 3    the granola has characteristics (that it is flavored with vanilla flavoring derived exclusively from

 4    vanilla beans) which it is not. Therefore, Defendant has violated section l 770(a)(5) of the CLRA.

 5            64.     California Civil Code section l 770(a)(7) prohibits "[r]espresenting that goods or

 6    services are of a particular standard, quality, or grade, or that goods are of a particular style or

 7    model, if they are of another." By marketing "Bear Naked Granola Fit V'nilla Almond" with its

 8    current packaging and advertisements, Defendant has represented and continues to represent that

 9    the granola is of a particular standard, quality, or grade (that it is flavored with vanilla flavoring

 10   derived exclusively from vanilla beans) when it is of another (flavored with vanilla flavoring that

 11   is not derived exclusively from vanilla beans). Therefore, Defendant has violated section

 12   1770(a)(7) of the CLRA.

 13           65.     California Civil Code section l 770(a)(9) prohibits "[a]dvertising goods or services

 14   with intent not to sell them as advertised." By packaging and marketing "Bear Naked Granola Fit

 15   V'nilla Almond" with words, statements, and pictures so that a reasonable consumer would

 16   believe that the granola is flavored with vanilla flavoring derived exclusively from vanilla beans,

 17   and then intentionally not selling the granola as granola flavored with something other than vanilla

 18   flavoring derived exclusively from vanilla beans, Defendant has violated section l 770(a)(9) of the

 19   CLRA.

 20           66.     At all relevant times, Defendant has known or reasonably should have known that

 21   "Bear Naked Granola Fit V'nilla Almond" was not flavored with vanilla flavoring derived

 22   exclusively from vanilla beans, but instead flavored with something other than vanilla flavoring

 23   derived exclusively from vanilla beans, and that Plaintiff and other members of the Class would

 24   reasonably and justifiably rely on the packaging and other advertisements in purchasing the

 25   granola.

 26           67.     Plaintiff and members of the Class have reasonably and justifiably relied on

 27   Defendant's misleading, and fraudulent conduct when purchasing "Bear Naked Granola Fit

 28   V'nilla Almond." Moreover, based on the materiality of Defendant's fraudulent and misleading

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      conduct, reliance on such conduct as a material reason for the decision to purchase the granola

  2   may be presumed or inferred for Plaintiff and members of the Class.

  3           68.      Plaintiff and members of the Class have suffered and continue to suffer injuries

  4   caused by Defendant because they would not have purchased "Bear Naked Granola Fit V'nilla

  5   Almond" or would have paid significantly less for "Bear Naked Granola Fit V'nilla Almond" had

  6   they known that Defendant's conduct was misleading and fraudulent.

  7           69.      Under California Civil Code section 1780(a), Plaintiff and members of the Class

  8   are seeking injunctive relief pursuant to the CLRA, preventing Defendant from further wrongful

 9    acts and unfair and unlawful business practices, as well as restitution, disgorgement of profits, and

 10   any other relief this Court deems proper.

 11           70.      Pursuant to California Civil Code section 1782, on December 5, 2019 Plaintiff

 12   notified Defendant in writing by certified mail of the violations of Section 1770 of the Act and

 13   demanded that Defendant rectify the problems associated with the actions detailed above and to

 14   give notice to all affected consumers of its intent to so act. Plaintiff sent this notice by certified

 15   mail, return receipt requested, to Defendant's principal place of business.

 16           71.      Pursuant to California Civil Code section l 782(d), Plaintiff and the Class seek a

 17   Court order enjoining the above-described wrongful acts and practices.

 18           72.      Plaintiff has incurred attorneys' fees and costs in connection with the investigation

 19   and filing of this complaint and anticipates incurring additional attorneys' fees and costs in

 20   connection with the prosecution of this action. An award of attorneys' fees is, therefore,

 21   appropriate pursuant to, among other grounds, California Civil Code section l 780(d):

 22           73.      Plaintiff has suffered and will continue to suffer damages because of the violations

 23   discussed herein. The time for Defendant to respond to the letter referred to in the preceding

 24   paragraphs has not yet passed. When it does, Plaintiff will amend this complaint to seek, on behalf

 25   of himself and the Class, compensatory, punitive, and all other available damages.

 26           74.      In all, the injuries suffered by Plaintiff and/or members of the Class as a direct

 27   result of Defendant's acts include:

 28                 a. Purchases made in reliance on the false representations made by Defendant; and

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                    b. Money spent, that would otherwise not have been spent, had Plaintiff and the

 2                     California Class known of the actual quality of the goods they were purchasing.

 3
 4                                      SECOND CAUSE OF ACTION
                           Violation of California's Unfair Competition Law ("UCL"),
 5                          California Business & Professions Code §§ 17200, et seq.
 6            75.      Plaintiff re-alleges and incorporates by reference all preceding paragraphs.

 7            76.      Plaintiff brings this claim individually and on behalf of the members of the

 8    proposed Class against Defendant. Business and Professions Code section 17200 provides in

 9    pertinent part that "unfair competition shall mean and include unlawful, µnfair or fraudulent

 10   business practices and unfair, deceptive, untrue or misleading advertising .... "

 11           77.      Under the UCL, a business act or practice is "unlawful" if it violates any

 12   established state or federal law.

 13           78.      Defendant's false and misleading advertising of "Bear Naked Granola Fit V'nilla

 14   Almond" therefore was and continues to be "unlawful" because it violates the CLRA, California's

 15   False Advertising Law ("F AL"), and other applicable laws as described herein.

 16          79.       As a result of Defendant's unlawful business acts and practices, Defendant has

 17   unlawfully obtained money from Plaintiff, and members of the Class.

 18          80.       Under the UCL, a business act or practice is "unfair" if the defendant's conduct is

 19   substantially injurious to consumers, offends public policy, and is immoral, unethical, oppressive,

 20   and unscrupulous, as the benefits for committing such acts or practices are outweighed by the

 21   gravity of the harm to the alleged victims.

 22          81.       Defendant's conduct was and continues to be of no benefit to purchasers of "Bear

 23   Naked Granola Fit V'nilla Almond," as it is misleading, unfair, unlawful, and is injurious to

 24   consumers who rely on the granola's packaging and marketing. Creating consumer confusion as to

 25   the actual ingredients and the characteristics of the granola is of no benefit to consumers.

 26   Therefore, Defendant's conduct was and continues to be "unfair."

 27          82.       As a result of Defendant's unfair business acts and practices, Defendant has and

 28   continues to unfairly obtain money from Plaintiff, and members of the Class.

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 1            83.     Under the UCL, a business act or practice is "fraudulent" if it actually deceives or

 2    is likely to deceive members of the consuming public.

 3            84.     Defendant's conduct here was and continues to be fraudulent because it has the

 4    effect of deceiving consumers into believing that "Bear Naked Granola Fit V'nilla Almond" is

 5    flavored with vanilla flavoring derived exclusively from vanilla beans, when it is not. Because

 6    Defendant misled Plaintiff and the Class, Defendant's conduct was "fraudulent."

 7            85.     As a result of Defendant's fraudulent business acts and practices, Defendant has

 8    and continues to fraudulently obtain money from Plaintiff, and members of the Class.

 9           86.      Plaintiff requests that this Court cause Defendant to restore this unlawfully,

 lO   unfairly, and fraudulently obtained money to Plaintiff, and members of the Class, to disgorge the

 11   profits Defendant made on these transactions, and to enjoin Defendant from violating the UCL or

 12   violating it in the same fashion in the future as discussed herein. Otherwise, Plaintiff, and

 13   members of the Class, may be irreparably harmed and/or denied an effective and complete remedy

 14   if such an order is not granted.

 15

 16                                     THIRD CAUSE OF ACTION
                           Violation of California's False Advertising Law ("F AL"),
 17                        California Business & Professions Code§§ 17500, et seq
 18          87.      Plaintiff re-alleges and incorporates by reference all preceding paragraphs.

 19           88.     Plaintiff brings this claim individually and on behalf of the members of the

 20   proposed Calass against Defendant.

 21           89.     California's FAL makes it "unlawful for any person to make or disseminate or

 22   cause to be made or disseminated before the public ... in any advertising device ... or in any

 23   other manner or means whatever, including over the Internet, any statement, concerning ...

 24   personal property or services professional or otherwise, or performance or disposition thereof,

 25   which is untrue or misleading and which is known, or which by the exercise of reasonable care

 26   should be known, to be untrue or misleading."

 27          90.      Defendant has represented and continues to represent to the public, including

 28   Plaintiff and members of the Class, through Defendant's deceptive packaging and marketing, that

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  1   "Bear Naked Granola Fit V'nilla Almond" was flavored with vanilla flavoring derived exclusively

 2    from vanilla beans. Defendant's representations are misleading because "Bear Naked Granola Fit

 J    V'nill~ Almond" was not flavored with vanilla flavoring derived exclusively from vanilla beam:.

 4    Because Defendant has disseminated misleading information regarding "Bear Naked Granola Fit

 5    V'nilla Almond," and Defendant knows, knew, or should have known through the exercise of
 6    reasonable care that the representation was and continues to be misleading, Defendant has violated

 7    the FAL.

 8            91.     Moreover, Defendant knows, knew or should have known through the exercise of

 9    reasonable care that such representation was and continues to be unauthorized and misleading.

 10                   As a result of Defendant's false advertising, Defendant has and continues to

 11   fraudulently obtain money from Plaintiff and members of the Class.
 12           93.     Plaintiff requests that this Court cause Defendant to restore this fraudulently
 13   obtained money to Plaintiff and members of the Class, to disgorge the profits Defendant made on

 14   these transactions, and to enjoin Defendant from violating the FAL or violating it in the same

 15   fashion in the future as discussed herein. Otherwise, Plaintiff and members of the Class may be

 16   irreparably harmed and/or denied an effective and complete remedy if such an order is not granted.

 17
                                       FOURTH CAUSE OF ACTION
 18                               Quasi Contract/Unjust Enrichment/Restitution
 19           94.     Plaintiff re-alleges and incorporates by reference all preceding paragraphs.
 20           95.     Plaintiff brings this claim individually and on behalf of the members of the Class

 21   against Defendant.
 22           96.     Where a defendant has been unjustly conferred a benefit "through mistake, fraud,

 23   coercion, or request" the return of that benefit is a remedy sought in "a quasi-contract cause of

 24   action." Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015). When a plaintiff

 25   alleges "unjust enrichment, a court may 'construe the cause of action as a quasi-contract claim

 26   seeking restitution." Id.
 27           97.     As alleged herein, Defendant has intentionally and recklessly made misleading

 28   representations to Plaintiff and members of the Class to induce them to purchase "Bear Naked

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      Granola Fit V'nilla Almond." Plaintiff and members of the Class have reasonably relied on the

 2    misleading representations and have not received all of the benefits promised by Defendant.

 3    Plaintiff and members of the Class therefore have been induced by Defendant's misleading and

 4    false representations about "Bear Naked Granola Fit V'nilla Almond," and paid for it when they

 5    would and/or should not have or paid more money to Defendant for it than they otherwise would

 6    and/or should have paid.

 7           98.       Plaintiff and members of the Class have conferred a benefit upon Defendant as

 8    Defendant has retained monies·paid to them by Plaintiff and members of the Class.

 9           99.       The monies received were obtained under circumstances that were at the expense of

 lO   Plaintiff and members of the Class - i.e., Plaintiff and members of the Class did not receive the

 11   full value of the benefit conferred upon Defendant.

 12           100.     Accordingly, it is inequitable and unjust for Defendant to retain the profit, benefit,

 13   or compensation conferred upon them without paying Plaintiff and the members of the Class back

 14   for the difference of the full value of the benefits compared to the value actually received.

 15           IO 1.    As a direct and proximate result of Defendant's unjust enrichment, Plaintiff and

 16   members of the Class are entitled to restitution, disgorgement, and/or the imposition of a

 17   constructive trust upon all profits, benefits, and other compensation obtained by Defendant from

 18   its deceptive, misleading, and unlawful conduct as alleged herein.

 19                                                  PRAYER
 20          WHEREFORE, Plaintiff, individually and on behalf of the Class, respectfully pray for

 21   following relief:

 22           l.       Certification of this case as a class action on behalf of the Class defined above,

 23   appointment of Plaintiff as Class representative, and appointment of Plaintiffs counsel as Class

 24   counsel;

 25           2.       A declaration that Defendant's actions, as described herein, constitute violations as

 26   described herein;

 27          3.        An award of injunctive and other equitable relief as is necessary to protect the

 28   interests of Plaintiff and the Class, including, inter alia, an order prohibiting Defendant from

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 1    engaging in the unlawful act described above;
 2            4.       An award to Plaintiff and the proposed class of restitution and/or other equitable
 3    relief, including. without limitation, restitutionary disgorgement of all profits and unjust
 4    enrichment that Defendant obtained from Plaintiff and the proposed class as a result of its
 5    unlawful. unfair and fraudulent business practices described herein;
 6            5.       An award of all economic, monetary, actual. consequential, and compensatory
 7    damages caused by Defendant's conduct;
 8            6.       An award of punitive damages;
 9            7.       An award to Plaintiff and his counsel of their reasonable expenses and attorneys'
10    fees;
 11           8.       An   award to Plaintiff and the Class of pre and post-judgment interest, to the extent
 12   allowable; and
 13           9.       For such further relief that the Court may deem just and proper.
14                                                JURY DEMAND
15            Plaintiff requests a jury on all triable issues.
16
      DATED: December 20, 2019
17

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 19
                                                       LAW OFFICES OF DEVON K.
20                                                     ROEPCKE, PC
21
                                                       Attorneys for Plaintiff
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                   CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.35 Page 25 of 38



 I                           Affidavit of Eric A. La Guardia for CLRA Count
 2           I, Eric A. LaGuardia, am an attorney admitted to practice before this Court and I am
 3    counsel of record for Plaintiff in the above-captioned matter. I make this affidavit pursuant to
 4    California Civil Code §1780(d). Venue is proper in this District because it is within the county
 5    where Plaintiff's transaction at issued in this Complaint occurred. I declare under penalty of
 6    perjury under the laws of the United States of America the above is true and correct and of my
 7    own personal knowledge.

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 10
             Dated: December 20, 20 I 9                    MIEric A. LaGuarafa.___7


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                  CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.36 Page 26 of 38




                           EXHIBIT 2
       Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.37 Page 27 of 38

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREET ADDRESS:      330 w Broadway
MAILING ADDRESS:     330   w Broao'way
CITY AND ZIP CODE:   San Diego, CA 92101-31127
BRANCH NAME:         Central
TELEPHONE NUMBER: (619) 450-7070

PLAINTlFF(S} / PETITIONER(S):               Harlan Zaback

DEFENDANT(S) I RESPONDENT(S): KELLOGG SALES COMPANY


 ZABACK VS KELLOGG SALES COMPANY [EFILE]
                                                                                             CASE NUMBER:
 NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT
 CONFERENCE on MANDATORY eFILE CASE                                                          3 7-2019-00067808-C U-BT -CTL


CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Randa Trapp                                                                    Department: C- 70

COMPLAINT/PETITION FILED: 12/20/2019

TYPE OF HEARING SCHEDULED                             DATE         TIME             DEPT               JUDGE
Civil Case Management Conference                      06/12/2020   09:50 am         C-70               Randa Trapp


A case management statement must be completed by counsel for all parties or self-represented litigants and timely filed with the court
at least 15 days prior to the initial case management conference. (San Diego Local Rules, Division II, CRC Rule 3. 725).

All counsel of record or parties in pro per shall appear at the Case Management Conference, be familiar with the case, and be fully
prepared to participate effectively in the hearing, including discussions of ADR .. options.




IT IS THE DUTY OF EACH PLAINTIFF (AND CROSS-COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH THE
COMPLAINT (AND CROSS-COMPLAINT), THE Al TERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION FORM (SDSC
FORM #CIV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR) (SDSC FORM #CIV-359), AND OTHER
DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2.1.5.

ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
DIVISION II, AND WILL BE STRICTLY ENFORCED.

TIME STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have requested and
       been granted an extension of time. General civil cases consist of all civil cases except: small claims proceedings,
       civil petitions, unlawful detainer proceedings, probate, guardianship, conservatorship, juvenile, parking citation
       appeals, and family law proceedings.

COMPLAINTS: Complaints and all other documents listed in SDSC Local Rule 2.1.5 must be served on all named defendants.

DEFENDANT'S APPEARANCE: Defendant must generally appear within 30 days of service of the complaint. (Plaintiff may
      stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (SDSC Local Rule 2.1.6)

JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee In
       the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in
       the action.

MANDATORY eFILE: Case assigned to mandatory eFile program per CRC 3.400-3.403 and SDSC Rule 2.4.11. All documents must
      be eFiled at www.onelegal.com. Refer to General Order in re procedures regarding electronically imaged court records,
      electronic filing, and access to electronic court records in civil and probate cases or guidelines and procedures.

COURT REPORTERS: Court reporters are not provided by the Court in Civil cases. See policy regarding normal availability and
unavailability of official court reporters at www.sdcourt.ca.gov.

'ALTERNATIVE DISPUTE RESOLUTION (ADR}: THE COURT ENCOURAGES YOU TO CONSIDER UTILIZING VARIOUS
ALTERNATIVES TO TRIAL, INCLUDING MEDIATION AND ARBITRATION, PRIOR TO THE CASE MANAGEMENT CONFERENCE.
PARTIES MAY FILE THE ATTACHED STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (SDSC FORM #CIV-359).




SDSC CIV-721 (Rev. 01-17)                                                                                                        Page: 1
                                                        NOTICE OF CASE ASSIGNMENT
        Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.38 Page 28 of 38

                            SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO


                                 ALTERNATIVE DISPUTE RESOLUTION (A0R) INFORMATION



CASE NUMBER: 37-2019-00067808-CU-BT-CTL                     CASE TITLE: Zaback vs Kellogg Sales Company [EFILE]


NOTICE: All plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
               (1) this Alternative Dispute Resolution (AOR) Information form (SDSC form #CIV-730),
               (2) the Stipulation to Use Alternative Dispute Resolution (ADR) form ($DSC form #CIV-359), and
               (3) the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution {ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached {$DSC form #CIV-359).

Potential Advantages and Disadvantages of AOR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

            Potential Advantages                             Potential Disadvantages
            • Saves time                                     • May take more time and money if ADR does not
            • Saves money                                      resolve the dispute
            • Gives parties more control over the dispute    • Procedures to learn about the other side's case (discovery),
              resolution process and outcome                   jury trial, appeal, and other court protections may be limited
            • Preserves or improves relationships              or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court's ADR
webpage at http://www.sdcourt.ca.gov/adr.

Mediation: A neutral person called a "mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an ''arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SOSC CIV-730 (Rav 12-10)     ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                                Page: 1
        Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.39 Page 29 of 38

Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
neutral you are considering, and about their fees.

Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two {2) hours of mediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.gov/adr and click on the
UMediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that: (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

l\rhitration: The So.n Diego Sup0rior Court m.:iintains a panel of approved judicial arbitrators who have pr3cticed law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chapter Ill and Code Civ. Proc. § 1141.10 et seq or contact the Arbitration Program Office at (619)
450-7300 for more information.

More information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.gov/adr or contact the
court's Mediation/Arbitration Office at (619) 450-7300.

Dispute Resolution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et seq.):
           In Central, East, and South San Diego County, contact the National Conflict Resolution Center (NCRC) at
           www.ncrconline.com or (619) 238-2400.
           In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.org or (760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you in finding an attorney. Information about obtaining free ond low coat legal oaaiatoncc ic otao available on
the California courts website at www.courtinfo.ca.gov/se/fhefp/lowcost.




SDSC CIV-730 (Rev 12-10)   ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                            Pege: 2
         Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.40 Page 30 of 38
                                                                                                                            FOR COURT USE ONLY
 ·SUPERl6R COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET AOORESS:            330 West Broadway
 MAILING AOORESS:           330 West Broadway
 CITY, STATE, & ZIP COOE:   San Diego, CA 92101-3827
 BRANCH NAME:               Central


  PLAINTIFF(S):        Harlan Zaback

  DEFENDANT(S): KELLOGG SALES COMPANY

  SHORT TITLE:         ZABACK VS KELLOGG SALES COMPANY [EFILE]

                            STIPULATION TO USE ALTERNATIVE                                                   CASE NUMBER:

                                DISPUTE RESOLUTION (ADR)                                                      37-2019-00067808-CU-BT-CTL

  Judge: Randa Trapp                                                                             Department: C-70

  The parties and thelr attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
  alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management limelines.
     D      Mediation (court-connected)                               D    Non-binding private arbitration


     •      Mediation (private)                                       D    Binding private arbitration

     D      Voluntary settlement conference (private)
                                                                     •     Non-binding judicial arbitration (discovery until 15 days before trial)


     •      Neutral evaluation (private)                              D    Non-binding judicial arbitration (discovery until 30 days before trial)


     •      Other (specify e.g., private mini-trial, private judge, etc.): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




  It is also stipulated that the following shall serve as arbitrator, mediator or other neutral: (Name)




  Alternate neutral (for court Civil Mediation Program and arbitration only): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


  Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                              Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




  Name of Plaintiff                                                                       Name of Defendant




  Signature                                                                               Signature



  Name of Plaintiffs Attorney                                                              Name of Defendant's Attorney




  Signature                                                                               Signature
  If there are more parties and/or attorneys, please attach addrnonal completed and fully executed sheets.
  It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court wm place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED.
                                                                                                          JUDGE OF THE SUPERIOR COURT
  Dated: 12/23/2019
SOSC CIV-359 (Rev 12,101                                                                                                                                   Page: 1
                                      STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
      Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.41 Page 31 of 38

                                                                                                                                                                         CM-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY9Name. Slate Bar number. Bnd Bd<Jress):                                                             FOR COURT USE ONI. Y
-Eric A. LaGuardia, SBN: 2727 I
  402 West Broadway, Suite 800                                                                                           ELECTROtUCALL Y FILED
  San Diego, CA 92101                                                                                                      Superi or Court o.f Californi a,
                                                                                                                              County of San DieQo
      TELEPHONE NO.:          6 l 9-655-4322                         FAX NO.:   6 l 9-655-4344
 ATTORNEY FOR (Name):         Harlan Zaback                                                                                121201201 9 at 0 1::m :3 1 PM
SUPERIOR COURT OF CALIFORNIA, COUNTY OF         San Diego                                                                   Clerk of the Superi or Court
        STREET ADDRESS:       330 West Broadway                                                                                           •
                                                                                                                            By Gen ieu, Deputy Clerk
        MAILINGADDREss:       330 West Broadway
       crrvANDZlPCOOE         San Dieflo, 92101
             aRANcH NAME:     Hall of ustice
  CASE NAME:
  Zaback v. Kelloi:m Sales Company
                                                                                                                      CASE NUMBER:
        CIVIL CASE COVER SHEET                                          Complex Case Designation
                                                                                                                                          37-2019-00067808- CU- BT- CTL
[Z]         Unlimited      Limited  D                  Counter     D        Jolnder        D
            (Amount        (Amount
                                                                                         JUDGE:
            demanded       demanded is          Filed with first appearance by defendant                                                 Judge Randa Trapp
                           $25,000 or less)
            exceeds $25,000)                         (Cal. Rules of Court, rule 3.402)     DEPT:
                               Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                                  Contract                                      Provisionally Complex Civil Litigation

      E3      Auto (22)
               Uninsured motorist (46)
                                                                D Breach of contract/warranty (06)
                                                                D Rule 3.740 collections (09)
                                                                                                               (Cal. Rules of Court, rules 3.400-3.403)
                                                                                                               D     Antitrust/Trade regulation (03)
      other Pl/PD/WO (Personal Injury/Property                  D Other collections (09)                       D     Construction defect (10)
      Damage/Wrongful Death) Tort                               D Insurance coverage (18)                      D     Mass tort (40)
      D       Asbestos (04)                                     D Other contract (37)                          D     Securities litigation (28)
      D        Product liability (24)                           Real Property                                  D     Environmental/Toxic tort (30)
      D        Medical malpractice (45)
                                                                D condemnation
                                                                      Eminent domain/Inverse                   D     Insurance coverage claims arising from the
      D       Other Pl/PD/WO (23)                                                  (14)                              above listed provisionally complex case
      Non-Pl/PD/WO (other) Tort                                 D Wrongful eviction (33)                             types (41)

      [2J     Business tort/unfair business practice (07)       D Other real property (26)                     Enforcement of Judgment
      D       Civil rights (08)                           Unlawful Detainer                                    D     Enforcement of judgment (20)
      D        Defamation (13)                                  D       Commercial (31)                        Miscellaneous Civil Complaint
      D        Fraud (16)                                       D       Residential (32)                       D     RICO(27)
      D        Intellectual property (19)                       D       Drugs (38)                             D     Other complaint (not specified above) (42)
      D        Professional negligence (25)                     Judicial Review                                Miscellaneous Civil Petition
      D       Other non-Pl/PD/WO tort (35)                      D       Asset forfeiture (05)                  D     Partnership and corporate governance (21)
      !!!!eloyment                                               D      Petition re : arbitration award (11)   D     Other petition (not specified above) (43)
      LJ       Wrongful termination (36)                         D      Writ of mandate (02)
      D       Other employment (15)                              n      Other judicial review (39)
2. This case       L.LJ is LJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
       factors requiring exceptional judicial management
       a. D        Large number of separately represented parties                    d. D       Large number of witnesses
       b. D        Extensive motion practice raising difficult or novel              e. D       Coordination with related actions pending in one or more courts
                   issues that will be time-consuming to resolve                                in other counties, states, or countries, or in a federal court
       c. D        Substantial amount of documenlary evidence                        f. D       Subslantial postjudgment judicial supervision

3.     Remedies sought (check all that apply): a.[Z] monelary                      b . [Z] non monetary; declaratory or injunctive relief                   c. [L)punitive
4.     Numberofcausesofaction (specify):                     1) CLRA; 2) UCL; 3) FAL; 4) Quasi Conract
5.     This case [2] is                 D
                                    is not a class action suit.
6.     If there are any known related cases, file and serve a notice of related case. (You m
Date: December 20, 2019
Eric A. LaGuardia
                                    {TYPE OR   PRINT NAME}
                                                                                   NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case , this cover sheet will be used for slatistical purposes onl .
                                                                                                                                                                                1 al
Form AdorJted !or Mancla!IJty Use                                                                                        Cal. Rules of Court. rules 2.30. 3.220. 3.400-3.403. 3.740;
  Juclicial CouncU of CaUlomla                                   CIVIL CASE COVER SHEET                                          ca1. Standards of Judicial Adm lnistratiol\ std. 3.10
     CM-010 IRev. July 1. 2007)                                                                                                                                www.C01J7tlnlb.ca.gov
    Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.42 Page 32 of 38

                                                                                                                                          CM-010
                                         INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others FIiing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
        Damage/Wrongful Death                           Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
    Uninsured Motorist (46) (if the                         Contract (not unlawful detainer              Construction Defect (10)
        case involves an uninsured                                or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                        Contract/Warranty Breach-Seller                 Securities Litigation (28)
        arbitration, check this item                          Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        Instead of Auto)                                 Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PDIWD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
    Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
        Asbestos Property Damage                         Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
        Asbestos Personal Injury/                        Other Promissory Note/Collections                      County)
               Wrongful Death                                 Case                                          Confession of Judgment (non-
    Product Liability (not asbestos or               Insurance Coverage (not provisionally                        domestic relations)
        toxic/environmental) (24)                        complex) (18)                                       Sister State Judgment
    Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
        Medical Malpractice-                            Other Coverage                                          (not unpaid taxes)
               Physicians & Surgeons                 Other Contract (37)                                     Petition/Certification of Entry of
        Other Professional Health Care                  Contractual Fraud                                        Judgment on Unpaid Taxes
               Malpractice                              Other Contract Dispute                               Other Enforcement of Judgment
    Other PI/PDIWD (23)                          Real Property                                                    Case
        Premises Liability (e.g., slip               Eminent Domain/Inverse                          Miscellaneous Civil Complaint
               and fall)                                Condemnation (14)                               RICO (27)
         Intentional Bodily Injury/PD/WO             Wrongful Eviction (33)                             Other Complaint (not specified
               (e.g., assault, vandalism)                                                                    above) (42)
                                                     Other Real Property (e.g., quiet title) (26)
        Intentional Infliction of                       Writ of Possession of Real Property                  Declaratory Relief Only
               Emotional Distress                                                                            Injunctive Relief Only (non-
                                                        Mortgage Foreclosure
        Negligent Infliction of                                                                                   harassment)
                                                        Quiet Title
               Emotional Distress                       Other Real Property (not eminent                     Mechanics Lien
        Other PI/PDIWD                                   domain, landlord/tenant, or                         Other Commercial Complaint
Non.Pl/PD/WO (Other) Tort                                foreclosure)                                           Case (non-tort/non-complex)
                                                 Unlawful Detainer                                           Other Civil Complaint
    Business Tort/Unfair Business                                                                                (non-tort/non-complex)
       Practice (07)                                Commercial (31)
                                                                                                     Miscellaneous Civil Petition
   Civil Rights (e.g., discrimination,              Residential (32)                                    Partnership and Corporate
       false arrest) (not civil                     Drugs (38) (if the case involves illegal                 Governance (21)
        harassment) (08)                                 drugs. check this item; otherwise,
    Defamation (e.g., slander, libel)                                                                   Other Petition (not specified
                                                         report as Commercial or Residential)                above) (43)
          (13)                                   Judicial Review                                             Civil Harassment
    Fraud (16)                                       Asset Forfeiture (05)
   Intellectual Property (19)                                                                                Workplace Violence
                                                     Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
   Professional Negligence (25)                      Writ of Mandate (02)
       Legal Malpractice                                                                                          Abuse
                                                         Writ-Administrative Mandamus                        Election Contest
       Other Professional Malpractice                    Writ-Mandamus on Limited Court                      Petition for Name Change
                (not medical or legal)                       Case Matter
   Other Non-Pl/PD/WO Tort (35)                                                                              Petition for Relief From Late
                                                         Writ-other Limited Court Case                            Claim
Employment
                                                             Review                                          Other Civil Petition
   Wrongful Termination (36)                         Other Judicial Review (39)
   Other Employment (15)                                  Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                             Commissioner Appeals
CM--010 lffev. July 1, 20071                                                                                                               Pago 2of 2
                                                     CIVIL CASE COVER SHEET
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                           EXHIBIT 3
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13

14                             UNITED STATES DISTRICT COURT
15                         SOUTHERN DISTRICT OF CALIFORNIA
16

17   HARLAN ZABACK, individually and on          Case No. - - - - - - - -
     behalf of all others similarly situated,
18
                                                 DECLARATION OF WINNIE
19                             Plaintiff,        EASTWOOD IN SUPPORT OF
20         V.                                    KELLOGG SALES COMPANY'S
                                                 NOTICE OF REMOVAL
21 KELLOGG SALES COMPANY and
22 DOES 1 through 10, inclusive,

23                             Defendants.
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            DECLARATION OF WINNIE EASTWOOD IN SUPPORT OF KELLOGG'S NOTICE OF REMOVAL
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1             I, Winnie Eastwood, declare and state as follows pursuant to 28 U.S.C. § 1746:
2             1.      I am a Manager, Brand Marketing for the Kellogg Company, which is the
3    parent of Defendant Kellogg Sales Company. I have personal knowledge of the facts set
4    forth in this declaration, and I could and would testify competently thereto if called on to
5    do so.
6             2.       I understand that this lawsuit involves Bear Naked Granola Fit V'nilla
7    Almond, which is manufactured by Kellogg.
8             3.       Kellogg is not able to track retail sales of their food products, including the
9    granola at issue in this case, because it sells its products to retailers and distributors, who in
10   tum sell those products to retail consumers. However, Kellogg obtains retail data from
11   Nielsen, which tracks retail sales of Kellogg products through certain retail channels.
12            4.       Nielsen tracks both nationwide and California retail sales of the challenged
13   Bear Naked Granola Fit V'Nilla Almond. Nielsen's retail sales data reflect that, since
14   January 1, 2016, California sales of Bear Naked Granola Fit V'Nilla Almond amount to
15   approximately               million through the retail channels tracked by Nielsen.
16            5.       I understand that the Plaintiff in this case also seeks to enjoin sales of Bear
17   Naked Granola Fit V'nilla Almond in its current packaging. To comply with such an
18   injunction, Kellogg would need to incur significant costs-including, among other things,
19   the cost of removing the product from retail stores in California, the cost of re-designing
20   the packaging, and the lost sales during the period in which Kellogg was removing the
21   product from the shelves and re-designing the packaging.
22

23            I declare under penalty of perjury under the laws of the United States and the State
24   of California that the foregoing is true and correct to the best of my knowledge.
25            Executed this_ day of February, 2020 in Solana Beach, CA.
26
27   DATED: February 12.___, 2020                 By:.-+rt--r-----~-r'-fc;,.c_.J""--------
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                   DECLARATION OF WINNIE EASTWOOD IN SUPPORT OF KELLOGG'S NOTICE OF REMOVAL
Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.46 Page 36 of 38




                           EXHIBIT 4
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 7    Attorneys for Defendant
      Kellogg Sales Company
 8

 9                                  SUPERIOR COURT OF CALIFORNIA

10                                            COUNTY OF SAN DIEGO

11

12    HARLAN ZABACK, individually and on behalf         Case No. 37-2019-00067808-CU-BT-CTL
      of all others similarly situated,
13                                                      NOTICE TO STATE COURT OF REMOVAL
                                 Plaintiff,             TO FEDERAL COURT
14

15          v.

16    KELLOGG SALES COMPANY and DOES 1
      through 10, inclusive,
17
                                 Defendants.
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                           NOTICE TO STATE COURT OF REMOVAL TO FEDERAL COURT
     Case 3:20-cv-00268-BEN-MSB Document 1-2 Filed 02/13/20 PageID.48 Page 38 of 38



 1    TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that Defendant Kellogg Sales Company has removed this action to the

 3    United States District Court for the Southern District of California pursuant to 28 U.S.C. § 1441 et seq. A

 4    file-stamped copy of the Notice of Removal is attached as Exhibit 1.

 5

 6     Dated: February 13, 2020                                JENNER & BLOCK LLP

 7
                                                               By: /s/ Kate T. Spelman
 8
                                                                       Kate T. Spelman
 9
                                                               Attorneys for Defendant
10                                                             Kellogg Sales Company

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                            NOTICE TO STATE COURT OF REMOVAL TO FEDERAL COURT
